






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-73,177-01




EX PARTE RICHARD WAYNE RAINS, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. CR5920 IN THE 424th DISTRICT COURT
FROM LLANO COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of manufacture of
a controlled substance and sentenced to sixty-five years’ imprisonment.  The Third Court of Appeals
affirmed his conviction. Rains v. State, No. 03-08-00104-CR (Tex. App.—Austin, delivered April
1, 2009, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The instant application was initially denied by this Court on January 20, 2010.  In it, the
Applicant alleged, inter alia, that his trial in this cause was barred by double jeopardy due to an
earlier conviction for the same offense.  Upon further review of the record, we find that Applicant’s
claims are meritorious.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Therefore, based upon our own motion, we reconsider our previous ruling and grant relief. 
The judgment in Cause No. CR5920 in the 424th  District Court of Llano County is set aside as
barred by double jeopardy.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Delivered:  May 21, 2014
Do not publish


